Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 1 of 10 PageID #: 2731



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------ X
  FRANCESCO PORTELOS,                                          :
                                                               :
                          Plaintiff,                           :
                                                               :   REPORT AND RECOMMENDATION
           -against-                                           :
                                                               :        12 Civ. 3141 (LDH) (VMS)
  CITY OF NEW YORK, NEW YORK CITY                              :
  DEPARTMENT OF EDUCATION, DENNIS                              :
  WALCOTT, LINDA HILL AND ERMINIA                              :
  CLAUDIO,                                                     :
                                                               :
                           Defendants.                         :
  ------------------------------------------------------------ X
  Vera M. Scanlon, United States Magistrate Judge:

          Plaintiff Francesco Portelos (“Plaintiff”) commenced this action against the City of New

  York, the New York City Department of Education, Dennis Walcott, Linda Hill and Erminia

  Claudio (collectively, “Defendants”), alleging that Defendants violated Plaintiff’s rights under

  the First Amendment and the New York Civil Service Law § 75-b. Compl. ¶ 1, ECF No. 1.

  After a jury trial before the Hon. LaShann DeArcy Hall, a verdict was entered in favor of

  Defendants on all claims, Jury Verdict, ECF No. 142, and the Clerk of Court entered judgment,

  ECF No. 149. Defendants now move pursuant to Fed. R. Civ. P. 54(d)(1) to tax Plaintiff for

  costs incurred to defend against the instant action. ECF No. 164. For the following reasons, this

  Court respectfully recommends that Defendants’ motion for costs be granted in part and denied

  in part, and that Defendant be awarded costs as taxed against Plaintiff in the amount of

  $6,060.78.

  I.      DISCUSSION

          Rule 54 of the Federal Rules of Civil Procedure states that “[u]nless a federal statute,

  these rules, or a court order provides otherwise, costs-other than attorney’s fees-should be
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 2 of 10 PageID #: 2732



  allowed to the prevailing party.” Fed. R. Civ. P. 54(d)(1). “The burden is on the prevailing party

  to establish to the court’s satisfaction that the taxation of costs is justified.” Hogan v. Novartis

  Pharm. Corp., No. 06 Civ. 260 (BMC), 2012 WL 5898473, at *2 (E.D.N.Y. Nov. 20, 2012),

  aff’d, 548 F. App’x 672 (2d Cir. 2013) (citation omitted); see Zacharowicz v. Nassau Health

  Care Corp., 2007 U.S. Dist. LEXIS 20946, at *4-5 (E.D.N.Y. Mar. 22, 2007) (“After the

  prevailing party demonstrates the amount of its costs and that they fall within an allowable

  category of taxable costs, that party enjoys a presumption that its costs will be awarded.”).

  “Because such an award against the losing party is the normal rule in civil litigation, the [losing

  party] bears the burden of showing why the imposition of costs in this instance was improper.”

  Ne. Holdings, L.L.C. v. Town of Riverhead, 244 F.R.D. 166, 167 (E.D.N.Y. 2007). “[W]hen a

  prevailing party is denied costs, a district court must articulate its reasons for doing so.”

  Whitfield v. Scully, 241 F.3d 264, 270 (2d Cir. 2001).

         Pursuant to Fed. R. Civ. P. 54(d)(1), district courts have the authority to award costs to

  the prevailing party in a lawsuit. See Marx v. Gen. Revenue Corp., 568 U.S. 371, 377 (2013).

  Costs are defined by 28 U.S.C. § 1920 to include:

         (1) Fees of the clerk and marshal; (2) Fees of the court reporter for all or
         any part of the stenographic transcript necessarily obtained for use in the
         case; (3) Fees and disbursements for printing and witnesses; (4) Fees for
         exemplification and copies of papers necessarily obtained for use in the
         case; (5) Docket fees under section 1923 of this title; (6) Compensation of
         court appointed experts, compensation of interpreters, and salaries, fees,
         expenses, and costs of special interpretation services under section 1828 of
         this title.

  28 U.S.C. § 1920. The Supreme Court has cautioned that “the discretion given district judges

  [by Rule 54(d)] to tax costs should be sparingly exercised with reference to expenses not

  specifically allowed by statute.” Farmer v. Arabian Amer. Oil Co., 379 U.S. 227, 235 (1964).

  Local Civil Rule 54.1(c) narrows the scope of materials for which a prevailing party can tax the

                                                    2
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 3 of 10 PageID #: 2733



  opposing side by delineating categories of expenses that a prevailing party may not recover. See

  Local Civ. R. 54.1(c)(2) (“Costs for depositions taken solely for discovery are not taxable.

  Counsel’s fees and expenses in attending the taking of a deposition are not taxable except as

  provided by statute, rule (including Local Civil Rule 30.1), or order of the Court”). Stenographic

  transcripts necessarily obtained for use in the case or on appeal are recoverable costs under 28

  U.S.C. § 1920. See 28 U.S.C. § 1920 (2).

          Defendants seek an award of costs in the amount of $14,727.53. Giambrone Decl. ¶ 6,

  ECF No. 164-1. This amount includes: $2,032.55 for deposition transcripts, id. ¶ 9; $4,597.73

  for stenographer fees for court conferences, id. ¶¶ 8, 10-19; and $9,678.84 for trial transcripts, id.

  ¶ 20.

          Plaintiff opposes Defendants’ application for costs, arguing that Defendants have not

  shown that they used the transcripts at trial, see Def.’s Opp’n at 2, ECF No. 167; that Plaintiff

  did not file this lawsuit frivolously or in bad faith, id. at 3; that Defendants could have acquired

  the transcripts for less money on ECF, id.; that the October 5, 2014 conference did not take

  place,1 id.; that Defendants’ counsel made unnecessary arguments that resulted in longer and

  more expensive transcripts, id. at 4; and that the imposition of costs would be a financial

  hardship, id. at 6.

          a. Daily Trial Transcripts

          “Determining whether daily trial transcripts were necessarily obtained is a factual

  inquiry, and such daily transcripts are not customary.” Nat. Organics, Inc. v. Nutraceutical




  1
   Although Plaintiff is correct that there was no conference on October 5, 2014, the Court
  understands there to be a typographical error as Defendants’ bill of costs and the Court docket
  show there was a conference on September 5, 2014, for which Defendants are now claiming
  costs. See Ex. F, ECF No. 164-7.
                                                    3
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 4 of 10 PageID #: 2734



  Corp., No. 01 Civ. 0384 (GBD) (RLE), 2009 WL 2424188, at *3 (S.D.N.Y. Aug. 6, 2009); see

  Galella v. Onassis, 487 F.2d 986, 999 (2d Cir.1973) (“To assess the losing party with the

  premium cost of daily transcripts, necessity–beyond the mere convenience of counsel–must be

  shown.”).

         It is within a court’s discretion to determine whether a stenographic transcript was

  necessarily obtained for case; among the more important factors to be considered are the length

  and the complexity of the trial, and the need of the court and the parties to have a transcript to

  which they may refer. See Bucalo v. E. Hampton Union Free Sch. Dist., 238 F.R.D. 126, 129

  (E.D.N.Y. 2006); Bank of Am. v. Loew’s Intern. Corp, 163 F. Supp. 924, 927 (S.D.N.Y. 1958).

         Use of the transcripts during trial does not per se establish that they were “necessary,” see

  John & Kathryn G. v. Bd. of Educ. of Mount Vernon Pub. Sch., 891 F. Supp. 122, 123 (S.D.N.Y.

  1995), and mere convenience to counsel is insufficient to justify taxing the cost, see Ferrostaal v.

  M/V Tupungato, Nos. 03 Civ. 4885, 03 Civ. 6236 (MGC), 2008 WL 2796644, at *1-2 (S.D.N.Y.

  July 17, 2008) (determining that nine-day bench trial did not involve overly complex matters and

  thereby reducing costs for expedited transcript awarded to prevailing party); see also Karmel v.

  City of New York, No. 00 Civ. 9063 (KMK), 2008 WL 216929, at *3 (S.D.N.Y. Jan. 9, 2008)

  (determining that where at least two attorneys were present and representing defendants at trial in

  discrimination lawsuit, sufficient notes could be taken during proceedings to obviate the need for

  a daily trial transcript); Bilezikjian v. Baxter Healthcare Corp., No. 92 Civ. 9498 (HB), 1999 WL

  945522, at *3 (S.D.N.Y. Oct. 18, 1999) (where three attorneys were at trial, and case not

  complex, daily expedited trial transcripts not taxable); DeHoust v. Baxter Healthcare Corp., No.

  93 Civ. 774 (HB), 1999 WL 280423, at *3 (S.D.N.Y. May 4, 1999) (in a product liability suit,

  “[t]he defendants were ably represented each day at trial by three attorneys, the trial lasted less



                                                    4
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 5 of 10 PageID #: 2735



  than two weeks, and the trial, in the Court’s view, did not contain complexities to justify daily

  expedited trial transcripts”). “On balance, courts have occasionally concluded that

  circumstances warranted the awarding of costs for a daily trial transcript, particularly upon

  consideration of factors including the amount of representation, the length of the trial, and the

  complexity of the issues in the case.” Nat. Organics, 2009 WL 2424188, at *3; see, e.g., Galella,

  487 F.2d at 999 (concluding that a showing of need for daily transcripts could not be ruled out

  and identifying the length of the trial, the large amounts of money in controversy, and the crucial

  nature of credibility of witnesses as supporting the need for a daily transcript); United Rubber,

  Cork, Linoleum & Plastic Workers of Amer., AFL-CIO v. Lee Nat’l Corp., 62 F.R.D. 194, 196

  (S.D.N.Y. 1974) (holding daily transcripts unnecessary where the case did not involve expert

  witnesses whose cross-examination required knowledge of the exact wording of their previous

  testimony or of that of any other witness, and time was not of the essence in this 1966 lawsuit);

  Karibian v. Columbia Univ., No. 91 Civ. 3153 (TPG), 1997 WL 2538, at *2 (S.D.N.Y. Jan. 3,

  1997) (holding daily trial transcript “entirely reasonable” based on substantial length of trial and

  important questions of credibility).

         This case involved a six-day jury trial. See Dkt. Entries 08/15/2016, 08/16/2016,

  08/17/2016, 08/18/2016, 08/19/2016, 08/23/2016. Defendants were represented by two

  attorneys. See id. Three witnesses testified. See id. The action did not involve particularly

  novel or complex issues. According to Defendants, the daily transcripts were used to prepare

  cross-examinations, resolve issues raised during trial, and prepare arguments at the close of

  evidence. Giambrone Decl. ¶ 20. “[Defendants] do[] not argue that the Court required daily

  transcripts and fails to adequately support the use of, and need for, those expedited transcripts by

  counsel during the proceedings.” Nat. Organics, 2009 WL 2424188, at *4. Defendants were



                                                   5
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 6 of 10 PageID #: 2736



  represented by two attorneys during the trial, each of whom could have taken trial notes, and the

  trial was relatively short in duration, see Dkt. Entries 08/15/2016, 08/16/2016, 08/17/2016,

  08/18/2016, 08/19/2016, 08/23/2016, dailies thus were not necessary.

           Nevertheless, Plaintiff fails to carry his burden to establish that the trial transcript was not

  reasonably necessary for Defendants to obtain for the appeal.2 Thus, Defendants’ request for

  taxation of costs for a non-expedited trial transcript is appropriate, but its request for daily

  transcripts is not. Thus, this Court respectfully recommends that Defendants be awarded

  $4,839.423 for a non-expedited trial transcript.

           b. Pretrial Conference Transcripts

           Defendants seek $4,597.73 for stenographer fees for pretrial discovery conferences.

  Giambrone Decl. ¶¶ 8, 10-19. Defendants contend that it was necessary to secure these

  transcripts as they were used in preparing Defendants’ motion for summary judgment, trial and

  cross examination at trial. See id. Under Local Civil Rule 54.1(c)(1), “[t]he cost of a transcript

  of court proceedings prior to or subsequent to trial is taxable only when authorized in advance or

  ordered by the court.” Local Civ. R. 54.1(c)(1).

           “In the instant case, Defendants did not seek or obtain advance approval for the cost of

  securing the transcript, nor was there a Court order directing that the transcript be obtained.”

  Burchette v. Abercrombie & Fitch Stores, Inc., No. 08 Civ. 8786 (RMB) (THK), 2010 WL

  3720834 at *6 (S.D.N.Y. Sept. 22, 2010). Accordingly, costs for the pretrial conference

  transcripts are not allowed. See id.; India.com, Inc. v. Dalal, No. 02 Civ. 0111 (DLC), 2010 WL




  2
      Plaintiff appealed the judgment. See ECF No. 158.
  3
   The parties did not provide the non-expedited rate for the transcript is, so it has reduced the
  expedited rate of $9,678.84 by fifty percent.
                                                      6
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 7 of 10 PageID #: 2737



  2758567, at *5 (S.D.N.Y. July 13, 2010) (“The Clerk erred, however, in allowing $492.00 for the

  costs of transcripts of . . . ‘post-trial proceedings.’ [Defendant] has not shown that the transcript

  costs for post-trial proceedings were authorized in advance or ordered by the Court.”); Sovereign

  Partners Ltd. P’ship v. Rest. Teams Int’l, Inc., No. 99 Civ. 0564 (RJW), 2001 WL 30665, at *2

  (S.D.N.Y. Jan.12, 2001) (finding cost of transcript of pretrial conference is not a taxable cost

  because it was not authorized in advance or ordered by the court); cf. Karmel, 2008 WL 216929,

  at *4 (allowing cost of transcript of pretrial conference where magistrate judge ordered the

  parties to purchase it); Carbonell v. Acrish, 154 F. Supp. 2d 552, 568-69 (S.D.N.Y. 2001)

  (awarding costs for transcript of pretrial proceeding where court ordered parties to purchase the

  transcript). Thus, this Court respectfully recommends that Defendants’ request for the

  reimbursement of costs for pretrial discovery conference transcripts be denied.

         c. Deposition Transcript Costs

         Defendants seek $2,032.55 for deposition transcripts. Giambrone Decl. ¶ 9. Pursuant to

  Local Rule 54. 1, the cost of the original deposition transcript and one copy is taxable “if the

  deposition was used or received in evidence at the trial, whether or not it was read in its

  entirety.” Local Civ. R. 54.1(c)(2). “Even where the cost of a deposition transcript itself will be

  taxable under these standards, certain associated fees that are not necessary generally may not be

  taxed-for example, . . . appearance fees.” India.com, Inc., 2010 WL 2758567, at *2 (quotation

  marks & citation omitted). Defendants are seeking reimbursement of costs for the original

  transcripts and two copies. See Ex. D, ECF No. 160-5. Defendants claim that these transcripts

  were utilized in preparing Defendants’ motion for summary judgment, and for trial, including

  cross examination. Giambrone Decl. ¶ 9. “The plain language of [Local Rule 54.1’s] first

  sentence, providing that depositions are taxable if ‘used or received in evidence at the trial’,



                                                    7
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 8 of 10 PageID #: 2738



  suggests that the word ‘use’ extends well beyond explicit reliance on the deposition as a basis for

  decision.” Whitfield, 241 F.3d at 271. A deponent’s testimony at trial “alone is sufficient to end

  the inquiry as to whether their depositions were ‘used’ at the trial.” Perry v. Metro. Suburban

  Bus Auth., 236 F.R.D. 110, 112 (E.D.N.Y. 2006) (referencing DiBella v. Hopkins, 407 F. Supp.

  2d 537, 541 (S.D.N.Y. 2005); Browne v. Greensleeves Records, Ltd., No. 03 Civ. 7696 (MGC),

  2005 WL 2716568, at *3 (S.D.N.Y. Oct.21, 2005); Anderson v. City of N.Y., 132 F. Supp. 2d

  239, 246 (S.D.N.Y. 2001)). Plaintiff-deponent, Mr. Portelos, testified at trial. See Docket

  Entries 08/15/2016, 08/16/2016, 08/17/2016. Thus, the Court concludes that Defendants have

  established that the deposition transcripts were reasonably and necessarily obtained for use in the

  case. Defendants provided invoices to substantiate the costs incurred. Plaintiff has not carried

  his burden to overcome the presumption that costs are appropriately imposed. Thus, this Court

  respectfully recommends that Defendants be awarded the cost of the original deposition

  transcript and one copy of the deposition transcript, and reduces the cost to $1,221.36.4

         d. Plaintiff’s Remaining Arguments

          Plaintiff’s argument that the action was commenced in good faith has no bearing on the

  cost analysis. See Whitfield, 241 F.3d at 272-73 (good faith alone is insufficient to prevent the

  award of costs); Wray v. City of N.Y., No. 01 Civ. 4837, 2007 WL 2908066, at *1 (E.D.N.Y.

  Oct. 4, 2007) (same); Commer v. McEntee, No. 00 Civ. 7913, 2007 WL 2327065, at *3

  (S.D.N.Y. Aug. 13, 2007) (finding good faith to be irrelevant to costs determination); Graber v.

  United States, No. 01 Civ. 1269, 2003 WL 22743085, at * 1 (S.D.N.Y. Nov. 20, 2003) (“[A]




  4
    It is not apparent from the invoices how much the stenographer charged for the originals and
  how much it charged for the copies, so the Court has subtracted the cancellation fee of $78.00
  and the appearance fees of $104.00, then reduced the remainder of the overall invoice by one-
  third.
                                                   8
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 9 of 10 PageID #: 2739



  party’s good faith, or lack thereof, is irrelevant to the determination of who should bear the

  necessary costs of a trial; rather, it is a function of who prevailed and who lost.”). There is no

  per se rule prohibiting taxing costs upon unsuccessful civil rights plaintiffs. See Wray, 2007 WL

  2908066, at *1 (“Nor does the concern about the deterrent effect that a costs award might have

  on commencing civil rights actions justify the disallowance of costs. . . . Congress has not sought

  to exclude civil rights cases from the reach of Rule 54(d)(1).”).

          Plaintiff also argues that it would be a “tremendous hardship” for him to pay the costs

  requested. Def.’s Opp’n at 6. While “[a]s a general matter a district court may deny costs on

  account of a losing party’s indigency,” Whitfield, 241 F.3d at 270, “plaintiff has failed to offer

  any proof of financial hardship, much less indigency.” Nazaire v. Kingsbrook Jewish Med. Ctr.,

  No. 04 Civ. 1415 (JG), 2006 WL 2946331, at *2 (E.D.N.Y. Oct. 11, 2006).

         Thus, the Court finds that Defendants have met their burden of showing that the taxation

  of costs as awarded above is justified, and Plaintiff has failed to meet his burden of showing that

  any of the costs awarded above should not be imposed.




                                                    9
Case 1:12-cv-03141-LDH-VMS Document 168 Filed 11/21/18 Page 10 of 10 PageID #: 2740



   II.    CONCLUSION

          The Court has considered all of the arguments of the parties. For the foregoing reasons,

   this Court respectfully recommends that Defendants’ motions for costs against Plaintiff be

   granted in part and denied in part, and that Plaintiff be taxed in favor of Defendants in the

   amount of $6,060.78.

   III.   OBJECTIONS

          The Court will mail this report and recommendation to pro se Plaintiff Francesco

   Portelos5 at 52 Wiman Place, Staten Island, NY 10305. Written objections to this report and

   recommendation must be timely filed in accordance with the Individual Rules of the District

   Judge. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). Failure to file objections within the

   specified time waives the right to appeal. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); see

   Caidor v. Onondaga Cnty., 517 F.3d 601, 604 (2d Cir. 2008).

   Dated: Brooklyn, New York
          November 21, 2018

                                                              Vera M. Scanlon
                                                                 VERA M. SCANLON
                                                             United States Magistrate Judge




   5
    Although Plaintiff was represented by counsel in the underlying lawsuit, he is representing
   himself as to Defendants’ motion for costs.
                                                    10
